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       ROBB EVANS & ASSOCIATES LLC
   7
   8
   9                          UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12   SECURITIES AND EXCHANGE                   CASE NO. CV11-07147 GHK (Ex)
       COMMISSION,
  13                                             [P ROPOSED] RDER: (1)
                         Plaintiff,              APPROVING FINAL REPORT AND
  14                                             ACCOUNTING; (2) APPROVING
                v.                               RECEIVER'S AND COUNSEL'S
  15                                             FEES AND EXPENSES FROM
       CHRISTIAN STANLEY, INC.; and              INCEPTION THROUGH CLOSING;
  16   DANIEL C.S. POWELL„                       (3) DISCHARGING RECEIVER; (4)
                                                 RELIEVING RECEIVER OF ALL
  17                     Defendants,             DUTIES AND LIABILITIES; (5)
                                                 AUTHORIZING ABANDONMENT
  18   and                                       AND DESTRUCTION OF RECORDS;
                                                 (6) GRANTING RELIEF FROM
  19   CHRISTIAN STANLEY, LLC; and               NOTICE UNDER LOCAL RULE 66-7;
       DANIEL CHRISTIAN STANLEY                  AND (7) FOR RELATED RELIEF
  20   POWELL REALTY HOLDINGS,
       INC.,
 21                                              DATE:   February 22, 2016
                         Relief Defendants.      TIME:   9:30 a.m.
 22                                              PLACE: Courtroom 650
 23
 24
 25             The matter of the Motion for Order: (1) Approving Final Report and
 26    Accounting; (2) Approving Receiver's and Counsel's Fees and Expenses from
 27    Inception Through Closing; (3) Discharging Receiver; (4) Relieving Receiver of
 28


       USW 805354420.1
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   1   All Duties and Liabilities; (5) Authorizing Abandonment and Destruction of
   2   Records; (6) Granting Relief from Notice under Local Rule 66-7; and (7) for
   3   Related Relief ("Wind Up Motion") filed by Robb Evans & Associates LLC
   4   ("Receiver") as permanent receiver of Christian Stanley, Inc., Christian Stanley,
   5   LLC and Daniel Christian Stanley Powell Realty Holdings, Inc. and their
   6   subsidiaries and affiliates ("Receivership Defendants") pursuant to the Preliminary
   7   Injunction issued September 19, 2011 came on regularly for hearing before the
   8   Court at the above-referenced date, time and place, before the Honorable George H.
   9   King, Chief United States District Judge presiding. The Court, having reviewed
  10   and considered the Wind Up Motion, all pleadings and papers submitted in support
  11   thereof, and opposition, if any, to the Wind Up Motion, and having heard the
  12   arguments of counsel, and good cause appearing therefor,
  13            IT IS ORDERED that:
  14            1.       The Wind Up Motion and the relief sought therein is granted in its
  15   entirety;
  16            2.       Without limiting the generality of the foregoing:
  17                     A.    The Receiver's Final Report and the Receiver's Final
  18   Accounting, attached as Exhibit 1 to the Declaration of Brick Kane, are hereby
  19   approved;
  20                     B.    All actions and activities taken by or on behalf of the Receiver
  21   and all payments made by the Receiver in connection with the administration of the
  22   receivership estate are hereby confirmed and approved;
 23                      C.    All receivership administrative expenses incurred in this
  24   receivership proceeding are hereby approved, all administrative expenses and
 25    Receiver's and counsel's fees and expenses actually incurred during the period from
 26    the inception of the receivership through the closing of the receivership estate and
 27    the discharge of the receiver ("Final Expense Period"), described and estimated in
 28    the Final Accounting and the Wind Up Motion, are hereby approved and authorized

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   1   to be paid from assets of the receivership estate, and the Receiver is authorized to
   2   distribute all assets of the receivership estate, if any, remaining after payment of all
   3   administrative expenses, including all fees and expenses of the Receiver and the
   4   Receiver's counsel incurred through the closing of the receivership estate to
   5   plaintiff Securities and Exchange Commission ("SEC"). To the extent assets of the
   6   receivership estate are insufficient to pay such fees and expenses, the Receiver shall
   7   pay such allowed fees and expenses on a pro rata basis to the Receiver and the
   8   Receiver's counsel based on the Receiver's allowed amount of fees and expenses
   9   and the Receiver's counsel's allowed amount of fees and expenses;
  10                     D.   The Receiver is authorized to abandon and destroy the records
  11   of the receivership defendants and any other corporations or businesses under the
  12   control of any of the receivership defendants in the possession, custody or control
  13   of the Receiver if, within 30 days after service of written notice to plaintiff SEC, the
  14   Receiver has not been served with a written request by the SEC for possession of
  15   the records or a subpoena by a law enforcement agency for the records. If during
  16   such 30-day period, the Receiver is served with a written request for the records by
  17   the SEC or subpoena by a law enforcement agency for the records, the Receiver is
  18   authorized to turn over the original records to the SEC or a law enforcement agency
  19   in response to the request or subpoena, and any assets not administered by the
  20   Receiver as of the closing of the receivership estate are deemed abandoned;
  21                     E.   Neither the Receiver nor any agent, employee, member, officer,
  22   independent contractor, attorney or representative of the Receiver shall have any
  23   liability to any person or entity for any action taken in good faith in connection with
  24   carrying out the Receiver's administration of this receivership estate, and the
 25    exercise of any powers, duties and responsibilities in connection therewith;
 26                      F.   Effective upon the completion of the Receiver's wind up of the
 27    estate, payment of administrative expenses and final payment of funds as provided
 28    herein, the Receiver, its agents, employees, members, officers, independent

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   1    contractors, attorneys and representatives are: (i) discharged; (ii) released from all
   2   claims and liabilities arising out of and/or pertaining to the receivership herein; and
   3   (iii) relieved of all duties and responsibilities pertaining to the receivership
   4   previously established in this action;
   5                     G.   This Court shall retain jurisdiction over any and all matters
   6   relating to the Receiver, the receivership and the receivership estate, including any
   7   matters relating to the distribution of funds received by the Receiver in connection
   8   with his obligations as Receiver or otherwise received after the receivership is
   9   closed, and to the extent any dispute arises concerning the Receiver's administration
  10   of the receivership estate or to the extent any person or entity seeks to pursue or
  11   assert any claim or action against the Receiver or any agent, employee, member,
  12   officer, independent contractor, attorney or representative of the Receiver, arising
  13   out of or related to this receivership, the Court hereby retains jurisdiction to hear
  14   and resolve any such dispute or claim;
  15                     H.   Notice of the hearing on the Wind Up Motion under Local Rule
  16   66-7 is deemed sufficient based on the service of the Wind Up Motion on the
  17   parties to the action and the service of a notice of hearing on the Wind Up Motion
  18   on any known potential non-investor vendor and other creditors.
  19
  20
  21   Dated:
                                                 HONORABLE GEORGE H. KING
  22                                             Chief United States District Judge
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               1                              CERTIFICATE OF SERVICE
               2         I am a citizen of the United States and employed in the County of Los
               3   Angeles, State of California. I am over the age of eighteen years and not a party to
               4   the within-entitled action. My business address is 300 South Grand Avenue, 14th
               5   Floor, Los Angeles, CA 90071.
               6         On January 19, 2016, I served the [PROPOSED] ORDER: (1)
               7   APPROVING FINAL REPORT AND ACCOUNTING; (2) APPROVING
               8   RECEIVER'S AND COUNSEL'S FEES AND EXPENSES FROM
               9   INCEPTION THROUGH CLOSING; (3) DISCHARGING RECEIVER; (4)
             10    RELIEVING RECEIVER OF ALL DUTIES AND LIABILITIES; (5)
             11    AUTHORIZING ABANDONMENT AND DESTRUCTION OF RECORDS;
             12    (6) GRANTING RELIEF FROM NOTICE UNDER LOCAL RULE 66-7;
             13    AND (7) FOR RELATED RELIEF upon the parties and/or counsel listed and by
             14    the methods indicated on the attached Service List.
             15          I declare upon the penalty of perjury that the foregoing is true and correct,
             16    and that I am employed in the office of a member of the bar of this Court at whose
             17    direction the service was made. Executed on January 19, 2016, at Los Angeles,
             18    California.
             19
                                                                           /s/ Christina O'Meara
             20
             21
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            27
            28
MCKENNA LONG &
 ALDRIDGE LLP
ATTORNEYS AT LAW
   LOS ANGELES                                             -3-
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               1                                     SERVICE LIST
               2
                          BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
               3
                   filed the document(s) with the Clerk of the Court by using the CM/ECF system.
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                   Participants in the case who are registered CM/ECF users will be served by the
               5
                   CM/ECF system. Participants in the case who are not registered CM/ECF users
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                   will be served by mail or by other means permitted by the court rules.
               7
                      • Spencer E Bendell
               8        bendells sec.gov,LAROFiling@sec.gov,marcelom@sec.gov
                      • Gary 0 Caris
               9        gary.caris dentons.com,chris.omeara@dentons.corn
                      • Peter F Del Greco
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             14         vanhavermaatd@sec.gov,LAROFiling@sec.gov,berryj@sec.gov,irwinma@s
                        ec.gov
             15
                         BY MAIL: I enclosed the document(s) in a sealed envelope or package
             16
                   addressed to the persons at the addresses listed in the Service List and placed the
             17
                   envelope for collection and mailing, following our ordinary business practices. I
             18
                   am readily familiar with Dentons US LLP's practice for collecting and processing
             19
                   correspondence for mailing. On the same day that the correspondence is placed for
             20
                   collection and mailing, it is deposited in the ordinary course of business with the
             21
                   United States Postal Service, in a sealed envelope with postage fully prepaid.
             22
                   Cedric Carter                               Daniel C S Powell
             23    8408 Thornbuiy Drive                        3035 Marmil Avenue
                   Antelope, CA 95843                          San Diego, CA 92139
             24
                   Daniel Christian Powell #64410-112
             25    TAFT
                   Correctional Institution
             26    P.O. Box 7001
                   Taft, CA 93268
            27
            28
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